
680 So.2d 1187 (1996)
Gloria Cotton, Wife of/and Donald COTTON
v.
GAYLORD CHEMICAL CORP., et al.
Eddie WALKER, et al.
v.
GAYLORD CHEMICAL CORPORATION, et al.
No. 96-CC-2426.
Supreme Court of Louisiana.
October 25, 1996.
Writ granted with order. The October 1, 1996 action of the court of appeal, which converted sua sponte the supervisory writ application on the issue of class certification into a devolutive appeal, is reversed. The relators in the court of appeal have not made the requisite showing of irreparable injury resulting from the class certification order. Therefore, the court of appeal erred in characterizing the order as an appealable interlocutory judgment. Accordingly, the matter is remanded to the court of appeal for that court to entertain and act upon the writ application, which challenges the class certification order, under its supervisory authority.
LEMMON, J., not on panel; recused.
